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                                                                               The application is GRANTED. The initial
                                                                               pretrial conference scheduled for
                                                                               November 4, 2021, at 11:00 a.m. is
                                                                               ADJOURNED to November 18, 2021 at
                                                                               11:00 a.m. The parties shall file a joint
                                                                               letter and proposed case management
                                                 THE CITY OF NEW YORK          plan and scheduling order by November
                                                                               11, 2021.
GEORGIA M. PESTANA                              LAW DEPARTMENT
Corporation Counsel                                 100 CHURCH STREET
                                                    NEW YORK, NY 10007         Dated: November 3, 2021
ALEXANDRA YACYSHYN
     Phone: (212) 356-3586                                                            New York, New York
    ayacyshy@law.nyc.gov

                                                   November 1, 2021

          BY ECF
          Honorable Lorna G. Schofield
          United States District Court
          Southern District of New York
          40 Foley Square
          New York, New York 10007

                   Re:       M.P. and A.P., individually and on behalf of A.P. v. New York City Department
                             of Education, 21-CV-07439 (LGS) (SLC)

          Dear Judge Schofield:

                        I am an Assistant Corporation Counsel in the Office of the Corporation Counsel
          assigned to represent the Defendant New York City Department of Education in the above-
          captioned matter, in which Plaintiffs seek inter alia tuition funding for the Student A.P.’s private
          school placement for the 2019-2020 and 2020-2021 school years. I write jointly with Plaintiffs’
          counsel pursuant to the Court’s Order dated November 1, 2021, and to respectfully request a short
          adjournment of the initial pre-trial conference currently scheduled for November 4, 2021.

                         By Order dated September 15, 2021, Your Honor scheduled the initial pre-trial
          conference and also directed the Parties to prepare and file a joint letter and a Proposed Civil Case
          Management Plan and Scheduling Order. The Order directed the Parties to do so seven calendar
          days prior to the initial pre-trial conference. The Parties overlooked this portion of the Court’s
          order and did not timely file their proposed plan and order. We apologize for the oversight and any
          resulting inconvenience.

                         The Parties need additional time to prepare a proposed Order and draft the joint
          letter. Accordingly, the Parties respectfully request a short adjournment of the initial pre-trial
          conference date from November 4, 2021 to November 12, 2021, or any date thereafter that is
          convenient for the Court. I have communicated with Marc A. Gottlieb, one of Plaintiffs’ attorneys,
          and as indicated above, this request is made jointly.
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             Thank you for your consideration of this matter.

                                                   Respectfully submitted,

                                                    s/
                                                   Alexandra L. Yacyshyn
                                                   Assistant Corporation Counsel


cc:   Marc A. Gottlieb (via ECF)
      Qian L. Wang (via ECF)
      Gottlieb & Wang LLP
      Attorneys for Plaintiff




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